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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

 CHIANNE D., et al.                             CASE NO. 3:23-cv-985-MMH-LLL
 v.
 JASON WEIDA, in his official capacity
 as Secretary for the Florida Agency
 for Health Care Administration, et al.

 Counsel for Plaintiffs:                    Counsel for Defendants:
 Sarah Grusin                               Andy Bardos
 Katherine DeBriere                         James Moore
 Lynn Hearn                                 Ashley Lukis

                 HONORABLE MARCIA MORALES HOWARD
                    UNITED STATES DISTRICT JUDGE

 Courtroom Deputy: Jodi L. Wiles                  Court Reporter: Katharine Healey


                               CLERK’S MINUTES

PROCEEDINGS OF: MOTION HEARING

Oral argument by counsel.

Plaintiffs’ Motion for Class Certification (Dkt. No. 2) is TAKEN UNDER
ADVISEMENT.

Plaintiffs’ Motion for a Classwide Preliminary Injunction (Dkt. No. 3) is DENIED, in
part, and TAKEN UNDER ADVISEMENT, in part.

To the extent that Plaintiffs, whether individually or as a potential class, asked the
Court to grant preliminary injunctive relief based on Count One, the violation of due
process claim, the Court does not have a sufficient record to grant such relief and the
request is DENIED.

A status conference via Zoom is set for Thursday, December 21, 2023, at 10:00
a.m. Notice to enter.




Date: December 13, 2023
Times: 9:59 a.m. – 12:15 p.m.; 1:24 p.m. – 3:56 p.m.
Total: 4 Hours, 48 Minutes
